                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )      Case No. 16-00150-08-CR-W-DGK
                                             )
CINDY ANN NEVATT,                            )
                                             )
                      Defendant.             )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72.1(e)(27),

and 28 U.S.C. § 636 and entered a plea of guilty pursuant to Fed.R.Crim.P. 11(c)(1)(A) and (B) to

the Information filed on August 8, 2017. The Plea Agreement specifies that the Government will

dismiss the Superseding Indictment currently pending against the defendant, as it pertains to this

defendant, at sentencing. I determined that the guilty plea is knowledgeable and voluntary and

that the offense charged is supported by an independent basis in fact containing each of the

essential elements of such offense. A record was made of the proceedings and a transcript is

available. I therefore recommend that the plea of guilty be accepted and that the Defendant be

adjudged guilty and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within fourteen days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1).


                                                          /s/ Sarah W. Hays
                                                         SARAH W. HAYS
                                                 UNITED STATES MAGISTRATE JUDGE



      Case 4:16-cr-00150-DGK          Document 298        Filed 08/11/17      Page 1 of 1
